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       THIRD SUPPLEMENTAL DECLARATION OF JOSEPH F. ANTOGNINI, M.D.


       I, JOSEPH F. ANTOGNINI, hereby declare and say:

1.     My name is Joseph F. Antognini. I submit this third supplemental declaration in further

response to the declarations submitted by Dr. Gail Van Norman (dated 11-1-2019, 6-29-2020, 8-

7-2020, 8-9-2020 and 9-29-2020), and Dr. Mark Edgar (dated 10-24-2019 and 9-28-2020), in the

case In re Federal Bureau of Prisons’ Execution Protocol Cases, No. 19-mc-145.



2.     The opinions presented in this supplemental declaration are based on information available

to me at this time. Should additional documents or information be provided to me for review and

analysis, I may take those additional materials into account, and modify and/or supplement my

opinions accordingly. If I am present at hearings and/or trial in this case, I may take into account

any testimony or other evidence to the extent related to my opinions and modify and/or supplement

my opinions accordingly. In performing my analysis, I have relied on my professional training,

education and experience. I have reviewed and considered the media reports of William LeCroy’s

execution attached as exhibits to plaintiffs’ motion filed on September 29, 2020, the account of

the Warden who was present in the execution room, as well as the supplemental declarations by

Dr. Van Norman (dated 9-29-2020), and the declaration by Dr. Mark Edgar (dated 9-28-2020),

also attached to the motion. I have also reviewed and considered the references listed below in the

“References Cited” section.



3.     Witness reports of LeCroy’s eye opening and then closing provide little dispositive

evidence of his level of consciousness. During induction of anesthesia patients’ eyes sometimes

stay partially open, or sometimes close, and the timing of these events say little about the level of


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consciousness.

4.      The only witness report that describes in detail the timing of LeCroy’s physical reaction

was from George Hale:




According to this witness, LeCroy’s torso movement lasted for about one minute, and his eyes

shut during this time. The witness also reported that “He remained almost entirely still for the next

12 minutes or so.” This report is not inconsistent with the actions of pentobarbital.



5.      Another witness (Eric Williams, declaration of 10-6-2020) reported:

        “Shortly after the lethal injection substances were administered, I heard LeCroy take a

        deep breath. Subsequently he snored loudly one time. During this time, I could see his

        chest and stomach rise and fall, under the sheet that was placed over him.”

This account confirms the expected action of pentobarbital (a deep breath followed by snoring)

but stands in contrast to the other accounts about ‘jerky’ movements by the inmate.



6.      Movements (including ‘jerky’ movements) after pentobarbital has been administered could

be spontaneous movements that sometime occur with induction of anesthesia.1 While these



1
 These ‘jerky’ movements observed during anesthesia induction are related to myoclonus and do not represent an
awake individual who is moving spontaneously.

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movements are most often seen with etomidate (another intravenous anesthetic), they can occur

following barbiturate administration (McCollum & Dundee 1986; Reddy RV, et al. 1993). So,

even if these movements did occur during LeCroy’s execution, it would not be unexpected.



7.         There are other possible causes of LeCroy’s movement, but it is not possible to assign a

cause for certain given the inexactitude of the timing of when the injection began relative to any

observed movements. For example, Hale’s statement “Almost immediately, assuming the drugs

began flowing at 8:48 p.m., LeCroy’s torso began to jerk...” suggests a reaction unrelated to

pentobarbital as it would not have yet entered his body, given the dead space in the intravenous

tubing. In the clinical setting, patients are often startled and move when an injection begins,

primarily because of the faster injection speed relative to the slower flow of the intravenous fluid.

Or, once the pentobarbital actually started entering the vein, LeCroy might have felt the drug

affecting the vein, which would cause him to move, even though little pentobarbital had actually

entered his body. It is also possible that LeCroy’s movements could be due to apprehension of his

imminent death.



8.         The abdominal movements reported by some witnesses could also indicate a partially

obstructed upper airway, akin to what occurs during snoring, especially in an obese person.2 Even

clinical doses of anesthetic drugs are well known to have this effect, as I have previously stated.



9.         Upper airway obstruction that might occur after administration of pentobarbital is highly

unlikely to result in negative-pressure pulmonary edema. The incidence of negative-pressure



2
    Eric Williams reported that LeCroy weighed 288 pounds.

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pulmonary edema is extremely low. I have observed it only a handful of times in my 30-year

career, and the incidence reported in the literature confirms my experience.



10.    Negative-pressure pulmonary edema can occur when a person attempts to breathe against

a closed airway, and closure of the larynx and vocal cords (so called laryngospasm) is the most

common eliciting factor in anesthesia. Even among patients who develop laryngospasm, the

incidence of negative-pressure pulmonary edema is no greater than 3%, and is probably much

lower, as low as 0.1% (Bhattacharya et al., 2016). Thus, it is incorrect to conclude with “medical

and scientific certainty” that upper airway obstruction as might occur after administration of

pentobarbital will lead to pulmonary edema.



11.    The plaintiff’s motion dated 9-29-2020 continues to mischaracterize the actions of

barbiturates. For example, on page 4 of the motion: “Dr. Van Norman states that barbiturates are

known within the field of anesthesiology to suppress only the subject’s responsiveness to pain

and not the subject’s awareness of it.” As outlined below, this statement is in contravention to the

irrefutable effects of barbiturates on brain function, especially at massive doses as administered

in the lethal injection setting. The statement in the motion attempts to paint a broad stroke,

suggesting that awareness is possible in all anesthesia settings and all anesthesia doses, which is

incorrect.



12.    Drs. Van Norman’s and Edgar’s opinions lack precision about the timing of pentobarbital’s

anesthetic action and the occurrence of pulmonary edema. Specifically, neither attempts to

reconcile the profound brain depression produced by pentobarbital with their claim that these



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inmates have awareness. Dr. Van Norman cites studies that used the isolated forearm technique to

document intraoperative awareness, but she ignores the fact that these patients were not deeply

anesthetized. She cites no evidence that brain depression that causes electroencephalographic

silence is consistent with awareness. Indeed, the electroencephalographic silence produced by a

massive dose of pentobarbital is akin to the electroencephalogram found in brain death. It is

irrefutable that it is not possible to have awareness during brain death. By the same token, nor is

awareness possible when the brain is profoundly depressed by pentobarbital.



13.     If intraoperative awareness was such a frequent event, and the isolated forearm technique

was the sine qua non for detecting it, then we would expect that the isolated forearm technique

would be used extensively. Yet, Dr. Van Norman has previously testified that she has not used the

isolated forearm technique and that it is rarely used.3

CONCLUSION

14.     It is my opinion to a medical certainty that an inmate administered 5 grams of

pentobabrital will become rapidly unconscious and will not experience the sensation of any

pulmonary edema that might occur before death, including negative-pressure pulmonary edema.




Date: October 9, 2020                               __________________________________
                                                             Joseph F. Antognini, M.D., M.B.A.



3
 Dr. Van Norman’s testimony 4-26-2019 in Case No. 4:17cv179:
Q: In your 19 to 21,000 anesthesia cases, how many cases have you used the isolated forearm technique to assess
consciousness of your patients during surgery?
A: None
Later in her testimony:
Q: And you just told me you have never in your career used IFT during surgery?
A: I don’t think you will find anyone who has in this country. It’s not used here.

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References Cited
       Bhattacharya M, et al. Negative-pressure pulmonary edema. Chest 2016; 150:927-33.
       McCollum JSC, Dundee JW. Comparison of induction characteristics of four intravenous
anaesthetic agents. Anaesthesia 1986; 41:995-1000
       Reddy RV, et al. Excitatory effects and electroencephalographic correlation of etomidate,
thiopental, methohexital, and propofol. Anesth Analg 1993; 77:1008-11.




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